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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORID A

                                  CASE NO . 04-20778-CR-JORDAN
                                                                              2    v
  UNITED STATES OF AMERICA ,

  vs .

  KENT FRANK,

          Defendant .



                    GOVERNMENT'S RESPONSE TO DEFENDANT'S
                  MOTION TO COMPEL RETURN OF EVIDENCE AN D
                GOVERNMENT 'S DEMAND FOR RECIPROCAL DISCOVER Y

          The United States of America, by and through the undersigned Assistant United State s

  Attorney, files this response to defendant Kent Frank's Motion to Compel the Return of Evidence .

  1.      Return of Evidence .

          Defendant's motion requests the return of all evidence that was seized at the time of the

  defendant's arrest in Vietnam . Attached hereto as Exhibit A is an inventory list of all items that were

  turned over to Special Agent Richard Matthews when the defendant was placed into his custody in

  Thailand in December 2004 . Photocopies of everything on the inventory list, including copies of

  all documents, have been included with the government's Second Supplemental Discovery Respons e

  that was delivered to the defendant's counsel via Federal Express on f ^              k4oV-t J v 27/ 30 Y

         In addition, inquires have been made to the Vietnamese authorities regarding whether the y

  are in possession of any additional items . While the United States has no reason to suspect that there

  are additional items, the United States will notify the defendant if anything else surfaces .
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          Since the United States has turned over everything relating to the defendant's arrest that it

  has in its possession, and further, has made efforts to ensure that there are no additional confiscated

  items, the United States respectfully requests that this Court deny defendant's motion as moot .

  II. Demand for Reciprocal Discovery .

          The government hereby renews its demand for the disclosure and production of materials

  enumerated as items 1, 2 and 3 of Section B of the Standing Discovery Order . This request renewal

  is also made pursuant to Rule 16(b) of the Federal Rules of Criminal Procedure .

          It appears that the defendant has substantially investigated this case, both in the United States

  and in Cambodia . Aside from the CD containing interviews of the four victims, which constitutes

  inadmissible hearsay, the United States has not yet received any discovery from the defendant . The

  United States respectfully requests that this Court compel the defendant to produce all reciprocal

  discovery, including, all information relating to the creation of the CD in Cambodia, such as

  payments made to investigators, unidentified females, victims, as well as all original footage of th e

  CD .
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                                                Conclusion

         Accordingly, the defendant's motion should be denied as moot, and the defendant should b e

  required to immediately turn over all reciprocal discovery, including all original footage, payment

  information, and other discovery relating to the CD .

                                                     Respectfully submitted ,

                                                     R . ALEXANDER ACOSTA
                                                     UNI"lD STATES ATTORNE Y


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                                  CERTIFICATE OF SERVIC E

         I hereby certify that a true and correct copy of the foregoing was delivered by facsimile and

  United States mail thiX day of November, 2005, to :

         James S . Benjami n
         One Financial Plaza, Suite 1615
         Ft. Lauderdale , FL 3339 4
         Fax : 954-779-1771

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                                                      ' Jonathan Lope z
                                                        Assistant United States Attorne y




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                    GOVERNMENT'S RESPONSE TO
                  DEFENDANT'S MOTION TO COMPE L
                       RETURN OF EVIDENC E




                                  EXHIBIT A
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   INVENTO RY OF 2 BAGS SEIZED FROM KEN T FRANK IN DECEMBER 200 4

   Bag I

      I . Wallet with 2 identification cards, 3 credit cards, and misc papers
      2. toiletrie s
      3 . novel s
      4 . mens clothes
      5 . 4 novel s
      6 . small battery
      7 . medications
      8 . towe l
      9 . bedsheet
       10 . misc papers
       1 l . watc h
       12 . belt
       13 . "Pinochio" pink noteboo k

   Bag 2

      1 . photos
      2. condoms
      3 . 3 novels
      4 . misc papers
      5 . mens clothing
      6. medications
      7. glasses
      8_ toiletries
      9. MobiTel sim card




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